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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                FORT WAYNE DIVISION

 UNITED STATES OF AMERICA                     )
                                              )
        v.                                    )       CAUSE NO.: 1:11-CR-22-TLS
                                              )
 JAMES THOMAS                                 )

                                    SENTENCING OPINION

        The Defendant, James Thomas, pled guilty to a drug offense in violation of 21 U.S.C. §

 841(a)(1), and is awaiting sentence. The statutory range of imprisonment for the Defendant’s

 offense is 10 years to life. The probation officer prepared a written Presentence Investigation

 Report (PSR), which calculated a United States Sentencing Guideline range of 292 to 365

 months of imprisonment for the Defendant’s offense, based on the Defendant’s total offense

 level of 35 and criminal history category of VI. The criminal history category is impacted by the

 fact that the Defendant is considered a career offender. In a Sentencing Memorandum [ECF No.

 430], the Defendant acknowledges that the career offender status is correctly applied, but

 requests that the Court sentence him below the guideline provision calculated in the PSR on

 grounds that the his total offense level “overemphasizes the Defendant’s criminal history

 resulting in a much harsher guideline recommendation than is appropriate,” and requests a

 downward departure pursuant to U.S.S.G. § 4A1.3(b).” (Def.’s Sentencing Mem. 2.) The

 Government disagrees that the Defendant is deserving of a sentencing variance, and argues that

 he has “chosen to deal drugs on an ongoing and recidivist basis since 1985, which is precisely the

 sort of longstanding criminal conduct deserving of the status and criminal history category of a

 career offender.” (Gov’t Sentencing Mem. 1, ECF No. 435.) As a second basis for a below-

 Guideline sentence, the Defendant cites to his physical condition and age. The Government
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 counters that the Defendant’s age and health did not deter his armed drug trafficking activity, and

 thus it should not impact his sentence.

        On March 17, 2015, the Court conducted a telephonic status conference with parties’

 counsel. The Defendant’s counsel indicated that he was still pursuing a variance from the

 Guideline range, but was not presenting additional evidence or argument. The Government

 likewise stated that it was relying on its written submission. The Defendant has filed a Motion to

 Withdraw Remaining Objections Noted In Addendum to Presentence Investigation Report [ECF

 No. 442].



                                            ANALYSIS

        Section 4A1.3(b)(1) permits a one-category reduction in a defendant’s criminal history if

 “the criminal history category substantially over-represents the seriousness of the defendant’s

 criminal history or the likelihood that the defendant will commit other crimes.” Departures are

 warranted only for defendants who have “steered clear of crime for a substantial period of time

 and whose prior offenses were relatively minor,” United States v. Bradford, 78 F.3d

 1216,1223–24 (7th Cir. 1996); see U.S.S.G. § 4A1.3 cmt. n.3. The Court does not find that this

 characterization describes the Defendant’s history. He has continued to engage in serious drug

 trafficking offenses.

        However, like the rest of the sentencing guidelines, the guidelines provision allowing a

 court to grant a below-guidelines sentence when the defendant’s criminal history category

 substantially over-represents the seriousness of the defendant’s criminal history or the likelihood

 that the defendant will commit other crimes is merely advisory; while a sentencing court has the


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 authority to sentence outside the guidelines upon consideration of § 4A1.3(b)(1), it is not

 required to do so. See United States v. Marin-Castano, 688 F.3d 899, 905 (7th Cir. 2012); see

 also United States v. Turner, 569 F.3d 637, 640 (7th Cir. 2009) (noting that “‘downward

 departures,’ per se,” had become obsolete, and that arguments related to guideline departures

 should be analyzed in the context of the § 3553(a) factors). The Court’s duty is to properly

 calculate the guideline range and then come up with a reasonable sentence under § 3553(a). See

 United States v. Munoz, 610 F.3d 989, 994 (7th Cir. 2010).

        The Defendant does not dispute that he qualifies as a career offender and that probation

 officer correctly calculated his Guideline range as 292 to 365 months of imprisonment. However,

 the Defendant asked the Court to impose a sentence below the advisory Guideline range. In

 imposing a sentence, § 3553(a) requires a court to consider:

        (1) the nature and circumstances of the offense and the history and characteristics
        of the defendant;
        (2) the need for the sentence imposed—
                (A) to reflect the seriousness of the offense, to promote respect for
                the law, and to provide just punishment for the offense;
                (B) to afford adequate deterrence to criminal conduct;
                (C) to protect the public from further crimes of the defendant; and
                (D) to provide the defendant with needed educational or vocational
                training, medical care, or other correctional treatment in the most
                effective manner.
        (3) the kinds of sentences available;
        (4) the advisory guideline range;
        (5) any pertinent policy statements issued by the Sentencing Commission;
        (6) the need to avoid unwarranted sentence disparities; and
        (7) the need to provide restitution to any victims of the offense.

 18 U.S.C. § 3553(a). After considering these factors, a court must impose a sentence that is

 sufficient, but not greater than necessary, to satisfy the purposes of sentencing. In making this

 determination, a district court may not presume that the guideline sentence is the correct one.


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 Rita v. United States, 551 U.S. 338, 351 (2007).

        In this case, the nature and circumstances of the offense is serious. The Defendant dealt

 significant quantities of methamphetamine and cocaine, as well as crack cocaine, heroin, and

 marijuana. He dealt directly with a major supplier of a large conspiracy. The Defendant

 possessed various firearms, including a revolver, sawed-off shotgun, and pistols with a silencer

 or missing serial number. Numerous weapons were loaded when police recovered them.

        The history and characteristics of the Defendant likewise warrant a sentence that is

 sufficiently serious to promote respect for the law and to protect the public from further crimes of

 the Defendant. In 1985, the Defendant was convicted in the Southern District of Ohio of

 distributing cocaine within 1,000 feet of a school and with possessing cocaine with intent to

 distribute. He was sentenced 7 years imprisonment, and after initially being paroled in 1988, he

 was sent back to prison after having his parole revoked twice. The second parole revocation was

 based on the Defendant’s drug distribution in his second case. In 1993, the Defendant was

 convicted of possessing cocaine with the intent to distribute and with possessing a firearm during

 and in relation to a drug trafficking offense in the District of New Jersey, receiving a total

 sentence of 140 months. Upon his release in 2003, the Defendant again began dealing drugs, and

 by late 2005 or early 2006, was making trips from Ohio to Fort Wayne to obtain kilogram

 quantities of cocaine for distribution. He was on supervised release at the time. The Defendant

 was 63 years old when he was arrested in 2011.

        General deterrence of criminal conduct dictates that a clear message be sent to society

 that repeated criminal behavior will increase the need for punishment with each recurrence. The

 Guidelines take this factor, as well as the seriousness of the current offense, into account.


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 However, the Court also notes that the Guideline calculation is impacted significantly by a thirty

 year old drug conviction. This 1985 conviction counts for criminal history purposes because the

 Defendant served a term of imprisonment on the 1993 conviction before serving the revoked

 portion of his 1985 sentence of imprisonment. Thus, he was incarcerated for the 1985 conviction

 during the fifteen-year period before the commencement of his instance offense. U.S.S.G. §

 4A1.2(e). While the drug conviction should carry some weight, as it shows there is a need for

 both specific and general deterrence and demonstrates the Defendant’s utter disregard for our

 society’s laws, its import is somewhat exaggerated. The Court will adjust the Defendant’s

 sentence accordingly.

        Other aspects of the Defendant’s history and characteristics suggest that the Guideline

 range overstates the need to protect the public from the Defendant’s future crimes. On one hand,

 the Defendant has not shown any willingness to rehabilitate himself, and has an above average

 tendency to criminal activity in relation to his age. However, he is now 67 years old and suffers

 from seizures and high blood pressure. If he served a term of imprisonment at the low end of the

 Guideline range, he would be in his mid-80's when he was released. There is no reason to believe

 his health will improve during his time of incarceration. Moreover, by the time he is released

 from a lengthy prison sentence, his previous drug trafficking connections will have presumably

 dried up. The Guideline range does not take into account either the Defendant’s age or his health

 problems. The individual circumstances of this case support a below Guideline sentence, as 292

 months is greater than necessary to protect the public from further crimes of the Defendant.

        In sum, the Court finds, upon consideration of the nature and circumstances of the

 offense, the history and characteristics of the Defendant, and the kinds of sentences available,


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 that a sentence below the advisory Guideline range of 292 to 365 months is sufficient but not

 greater than necessary to satisfy the purposes of sentencing. This determination is based on the

 evidence in the record thus far, and on the factors highlighted by the Defendant and the

 Government. The Court has not yet heard from the Defendant, and he may wish to make a

 statement on his own behalf in mitigation of punishment. Indeed, he is entitled to make such a

 statement. See Fed. R. Crim. P. 32(i)(4)(A)(ii). Therefore, the Court reserves a determination of

 the appropriate term of imprisonment until after the Defendant has had an opportunity to address

 the Court.



                                         CONCLUSION

        For the reasons stated above, the Court GRANTS the Defendant’s request for a variance,

 but WITHHOLDS determining the sentence to impose until the time of the sentencing hearing

 and after providing the Defendant an opportunity to address the Court. The Court GRANTS the

 Defendant’s Motion to Withdraw Remaining Objections Noted In Addendum to Presentence

 Investigation Report [ECF No. 442].

        SO ORDERED on March 19, 2015.

                                                       s/ Theresa L. Springmann
                                                       THERESA L. SPRINGMANN
                                                       UNITED STATES DISTRICT COURT




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